     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 1 of 36
                                                 Apple v. Samsung
                                         Confidential – Attorneys’ Eyes Only


 1

 2

 3

 4

 5

 6

 7

 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                           SAN JOSE DIVISION
11

12   APPLE INC., a California corporation,                        Case No.     11-cv-01846-LHK
13                          Plaintiff,                            DECLARATION OF DR. KARAN
                                                                  SINGH, PH.D. IN SUPPORT OF
14          v.                                                    APPLE’S OPPOSITION TO
                                                                  SAMSUNG’S MOTION FOR
15   SAMSUNG ELECTRONICS CO., LTD., A                             SUMMARY JUDGMENT
     Korean business entity; SAMSUNG
16   ELECTRONICS AMERICA, INC., a New York
     corporation; SAMSUNG
17   TELECOMMUNICATIONS AMERICA, LLC, a
     Delaware limited liability company,
18
                            Defendants.
19

20
            **CONFIDENTIAL – CONTAINS MATERIAL DESIGNATED AS HIGHLY
21               CONFIDENTIAL – ATTORNEYS’ EYES ONLY PURSUANT
                             TO A PROTECTIVE ORDER**
22
                                     PUBLIC REDACTED VERSION
23

24

25

26

27

28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 2 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   I, KARAN SINGH, do hereby declare as follows:
 2          1.      I have personal knowledge of, and am competent to testify to, the facts and
 3   opinions set forth herein.
 4          2.      I have been asked by counsel for Apple to provide an expert declaration in the
 5   above-captioned case. I submit this Declaration in support of Apple’s Opposition to Samsung’s
 6   Motion for Summary Judgment. I have been asked by counsel to review and respond to the
 7   opinions and assertions made in the Declaration of Stephen Gray in Support of Samsung’s
 8   Motion for Summary Judgment.
 9          3.      I reserve the right to supplement this Declaration if additional data or other
10   information that affects my opinions becomes available or to respond to any additional matters
11   that may addressed by any witness testifying on behalf of Samsung, if asked to do so.
12          4.      I am being compensated at my standard hourly consulting rate of $450 and my
13   compensation is in no way dependent upon the opinions I offer or upon the outcome of the
14   litigation between Apple and Samsung.
15   II.    QUALIFICATIONS
16          5.      I am the same Dr. Karan Singh who submitted an opening expert report regarding
17   Samsung’s infringement of U.S. Patent Nos. 7,864,163 (the “’163 patent”), 7,844,915 (the “’915
18   patent”) and 7,853,891 (“Infringement Report”), and a rebuttal expert report regarding the
19   validity of those patents (“Validity Report”). The portions of my Infringement Report relating to
20   the ’915 patent are attached hereto as Exhibit 1. The portions of my Validity Report relating to
21   the ’915 patent and the ’163 patent, including the LaunchTile reference, are attached hereto as
22   Exhibit 2.
23          6.      Here, I provide a brief summary of my qualifications. My qualifications and
24   experience are stated more fully in my curriculum vitae, which includes a list of all my honours,
25   patents, presentations, grants, and publications from the last five years, and is attached to this
26   Declaration as Exhibit 3.
27          7.      I received my Bachelor of Technology degree in Computer Science from the
28   Indian Institute of Technology in 1991. I was awarded a Master of Science degree in 1992, and a
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                             1
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 3 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1   Ph.D. in 1995, both in Computer and Information Science, from Ohio State University. I can read
 2   and program fluently in object-oriented programming languages, such as C++ and Java.
 3          8.      In 1994, I was invited to conduct research at the Advanced Telecommunications
 4   Research laboratory in Kyoto, Japan. During this time I researched virtual reality technology,
 5   specifically designing graphical environments in which human characters could interact with
 6   computing systems.
 7          9.      My Ph.D. dissertation, which I presented in 1995, was on creating representations
 8   of humans which could interact in graphical environments.
 9          10.     In 1995, I joined Alias Wavefront in Toronto, Canada. While there I designed
10   character animation and facial modeling tools for the first release of Maya, which is a software
11   system for computer graphical modeling, animation, and rendering which won a technical Oscar
12   in 2003, one of only 38 such awards since 1930. This software, which I worked on for more than
13   two years, is still the premiere software package today for these functions. I worked at Alias
14   Wavefront until 1999.
15          11.     I have worked with Chris Landreth, a director of animated films, since I started
16   with Alias Wavefront in 1995. Chris and I worked together on the design of Maya, and have
17   subsequently worked on a number of film projects. Notable among these projects is the short film
18   “Ryan,” which won an Oscar for Best Animated Short in 2005.
19          12.     Later in 1999, I joined a start-up company in California called Paraform Inc.
20   While there I worked to develop a system which transformed data from real objects which had
21   been scanned using lasers into useable digital models for downstream applications.
22          13.     For several months in 1999 I was a Visiting Professor of Computer Science at the
23   University of Otago in New Zealand. During that time I taught and conducted research in
24   computer graphics.
25          14.     Since 2002, I have been an Associate Professor of Computer Science at the
26   University of Toronto where I co-direct a graphics and human computer interaction laboratory
27   known as dgp (dynamic graphics project). I have conducted research and taught classes in
28   graphics and in human computer interaction. During this period, I have also undertaken
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                           2
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 4 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1   consulting projects with various companies in the computer graphics and design industries. Since
 2   2002, I have also been the Chief Scientist at Geometry Systems, which is a company which
 3   designs software for the reverse engineering of physical objects into usable digital models. I also
 4   co-founded Arcestra, Inc. in 2006, which is a software service for conceptualizing and visualizing
 5   architectural interiors.
 6           15.     My current research focus is on interaction techniques for pen and touch based
 7   devices inspired by a sketching metaphor.
 8           16.     I have previously testified by deposition as an expert in proceedings before the
 9   International Trade Commission in the ITC Investigation In re Certain Electronic Digital Media
10   Devices and Components Thereof, Inv. No. 337-TA-796 on behalf of complainant Apple.
11   III.    MATERIALS REVIEWED
12           17.     In forming my opinions as stated in this Declaration I reviewed a large volume of
13   materials relating to the ’915 patent and the ’163 patent and to Samsung’s arguments with respect
14   to those patents. A subset of the materials I reviewed included the ’163 and ’915 patents and their
15   file histories, the LaunchTile videos and papers attached to Mr. Bederson’s Declaration, the
16   XNav code produced in this litigation, Mr. Gray’s Invalidity Report and his Rebuttal Report on
17   Non-Infringement, the Gray and Bederson Declarations and exhibits filed in support of
18   Samsung’s Motion for Summary Judgment, and all of the deposition transcript and dictionary
19   excerpts and other materials cited in this Declaration. Additional materials that I reviewed in
20   forming my opinion in this case were disclosed in my opening Infringement Report and in my
21   rebuttal Validity Report.
22
     IV.     UNDERSTANDING OF THE LAW
23

24           18.          I have not been asked to offer an opinion on the law; however, as an expert
25   assisting the Court in determining patent infringement and validity, I understand that I am obliged
26   to follow existing law. I have therefore been asked to apply the following legal principles to my
27   analysis of patent infringement and validity:
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                              3
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 5 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1             19.   I understand that to determine whether there is infringement of a patent: (1) the
 2   claims of the patent must be construed; and (2) the properly construed claims must then be
 3   compared with the accused products.
 4             20.   Where the Court has construed a claim term, I have applied that construction.
 5   Where no claim construction has been issued by the Court, I have interpreted the claims as one of
 6   ordinary skill in the art would have at the time the relevant patent was filed in light of its claim
 7   language, specification, and prosecution history.
 8             21.   As the second step in the infringement analysis, I understand that the properly
 9   construed claim must be compared to the accused products. I understand that infringement
10   requires that every limitation of a claim be met, either literally or equivalently, by the accused
11   device.
12             22.   I understand that one test for determining equivalence is to determine whether the
13   differences between the claimed limitation and the accused product are insubstantial. I
14   understand that another test for determining equivalence is to examine whether the step used by
15   the accused product performs substantially the same function in substantially the same way to
16   achieve substantially the same result as the claimed step.
17             23.   I understand that to prove direct infringement of a device claim, a plaintiff must
18   show that a defendant “makes, uses, offers to sell, or sells,” within the United States, or imports
19   into the United States, an accused device that reads on every limitation of the patent claim.
20             24.   I understand that a device literally and directly infringes a claim of a patent if all of
21   the asserted claim elements are found in the accused device or method.
22             25.   I have been informed by counsel that by United States statute, a patent is presumed
23   valid. I understand that the patent challenger bears the burden of proving invalidity of the patent
24   by clear and convincing evidence.
25             26.   I have been informed by counsel that, for a finding of invalidity of a patent under
26   35 U.S.C. § 102, which is known as “anticipation,” each and every element of a claim, as
27   properly construed, must be found either explicitly or inherently in a single prior art reference,
28   subject to the limitations imposed by § 102 in paragraphs (a)–(g). I understand that under
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                               4
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 6 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   principles of inherency, if the extrinsic evidence makes clear that the prior art necessarily
 2   functions in accordance with or includes the claimed limitations, it anticipates. I understand that
 3   inherency may not be established by probabilities or possibilities. I also understand that, in order
 4   to anticipate a patent claim, a prior art reference must also be enabling, such that a person of
 5   ordinary skill in the art could practice the invention without undue experimentation.
 6          27.     I have been informed by counsel that a claim is invalid under 35 U.S.C. § 102(a) if
 7   the claimed invention was known or used by others in the U.S., or was patented or published
 8   anywhere, before the applicant’s invention. I further have been informed that a claim is invalid
 9   under 35 U.S.C. § 102(b) if the invention was patented or published anywhere, or was in public
10   use, on sale, or offered for sale in the United States, more than one year prior to the filing date of
11   the patent application. And I have been informed that a patent claim is invalid under 35 U.S.C. §
12   102(e), if an invention described by that claim was described in a U.S. patent granted on an
13   application for a patent by another that was filed in the U.S. before the date of invention for such
14   a claim. A claim is also invalid, as I understand, under 35 U.S.C. §102 (f) if the invention was
15   invented by another prior to the claimed invention. It is also my understanding that a claim is
16   invalid under 35 U.S.C. §102 (g)(2) if, prior to the date of invention for the claim, the invention
17   was made in the U.S. by another who had not abandoned, suppressed or concealed the invention.
18
     V.     THE SAMSUNG ACCUESED PRODUCTS INFRINGE CLAIM 8 OF THE ’915
19          PATENT
20          28.     In my opinion, each of the Samsung Accused Products meets each and every
21   limitation of claim 8 of the ’915 patent literally and, in the alternative, under the doctrine of
22   equivalents, as explained below. Videos of various Accused Products performing the limitations
23   of this claim were included in my Infringement Report as Exhibit 18 (Galaxy Tab 10.1), Exhibit
24   19 (Galaxy S II), Exhibit 20 (Vibrant), and Exhibit 21 (Captivate). They are renumbered as
25   Exhibits 4, 5, 6 and 7 to this Declaration.
26          29.     Claim 8. Claim 8 recites:
27                  A machine readable storage medium storing executable program
                    instructions which when executed cause a data processing system to
28                  perform a method comprising:
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                                 5
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 7 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1                  [a] receiving a user input, the user input is one or more input points
                    applied to a touch-sensitive display that is integrated with the data
 2                  processing system;
 3                  [b] creating an event object in response to the user input;
 4                  [c] determining whether the event object invokes a scroll or gesture
                    operation by distinguishing between a single input point applied to
 5                  the touch-sensitive display that is interpreted as the scroll operation
                    and two or more input points applied to the touch-sensitive display
 6                  that are interpreted as the gesture operation
 7                  [d] issuing at least one scroll or gesture call based on invoking the
                    scroll or gesture operation;
 8
                    [e] responding to at least one scroll call, if issued, by scrolling a
 9                  window having a view associated with the event object;
10                  [f] responding to at least one gesture call, if issued, by scaling the
                    view associated with the event object based on receiving the two or
11                  more input points in the form of the user input.
12          30.     Claim 8 – Preamble and limitations [a] , [b], [d], [e] and [f] Each of the

13   Accused Products is either a smartphone or tablet running a version of the Android operating

14   system, which includes a data processing system. Each Accused Product includes a computer

15   readable storage medium storing executable program instructions which when executed cause the

16   data processing system to perform the method described in claim 8. I have previously submitted

17   an Expert Report on the Infringement of the ’915 patent, providing details on how the Accused

18   Products meet the preamble (if it is a claim limitation) and every limitation found in Claim 8. In

19   my Infringement Report I discussed method claim 1 in detail, and opined that device claim 8 was

20   infringed for essentially the same reasons as method claim 1, because claim 8 in essence claims a

21   device for performing the method of claim 1. My infringement opinions included claim charts as

22   Exhibit 17 to my Infringement Report, which were submitted as Exhibit 14 to Mr. Gray’s

23   Declaration. They also included claim charts as Exhibit 16 to my Infringement Report, which is

24   attached to this Declaration as Exhibit 8. I incorporate those claim charts by reference in this

25   Declaration.

26          31.     Because Samsung’s Motion and Mr. Gray’s Declaration do not contest that the

27   Samsung Accused Products infringe the preamble or the limitations Mr. Gray had labeled as [a],

28   [b], [d], [e] and [f], but instead challenge only whether the Accused Products meet limitation [c], I
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                             6
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 8 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   will focus on that limitation rather than reiterating all of the reasons why the other limitations are
 2   present in the Samsung Accused Products.
 3          32.     Claim 8 – Element [a] “receiving a user input, the user input is one or more
 4   input points applied to a touch-sensitive display that is integrated with the data processing
 5   system.”
 6          33.     In my opinion, each of the Accused Products infringes this limitation. The
 7   Accused Products receive a user input. The user input includes one or more input points (one or
 8   more fingers) applied to the touch-sensitive display that is integrated with the Samsung device.
 9   Samsung has not disputed this in its Motion or in Mr. Gray’s Declaration.
10          34.     For example, the Galaxy Tab 10.1 and the Galaxy S II receives a user input with
11   one input point (one finger) applied to the touch-sensitive display as illustrated below. The
12   touch-sensitive displays are integrated into the Galaxy Tab 10.1 and the Galaxy S II.
13          35.     Based on my observations of the Accused Products, as well as my analysis of the
14   source code for each major release of Android running on the Accused Products (Android 2.1,
15   2.2, 2.3, and 3.1), I have determined that each Accused Product receives a user input, where the
16   user input is one or more input points applied to the touch-sensitive display that is integrated with
17   the device. The claim chart in Exhibit 17 to my Infringement Report identified analogous code
18   that satisfies this element in Android 2.1, 2.2, and 2.3. (Gray Decl. at Ex. 14.)
19          36.     Claim 8 – Element [b] “creating an event object in response to the user
20   input.” In my opinion, each of the Accused Products includes a machine readable storage
21   medium storing executable program instructions which when executed cause a data processing
22   system to create an event object in response to the user input. Samsung has not disputed this in
23   its Motion or in Mr. Gray’s Declaration.
24          37.     Each of the Accused Products, via the Android platform on which it operates,
25   creates an event object in response to the user input.
26          38.     Under the public Android platform, a MotionEvent object is created in response to
27   a touch on the touch screen. (http://developer.android.com/reference/android/view/
28   MotionEvent.html.)
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                             7
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 9 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1          39.     I
 2

 3

 4

 5

 6

 7

 8

 9          40.     Based on my observations of the Accused Products, as well as my analysis of the
10   source code for each major release of Android running on the Accused Products (Android 2.1,
11   2.2, 2.3, and 3.1), I have determined that each Accused Product includes similar computer code
12   that creates an event object in response to user input. The claim chart in Exhibit 17 to my
13   Infringement Report identifies analogous code that satisfies this element in Android 2.1, 2.2, and
14   2.3. (Gray Decl. at Ex. 14.)
15          41.     Claim 8 – Element [c] “determining whether the event object invokes a scroll
16   or gesture operation by distinguishing between a single input point applied to the touch-
17   sensitive display that is interpreted as the scroll operation and two or more input points
18   applied to the touch-sensitive display that are interpreted as the gesture operation.” In my
19   opinion, each of the Accused Products meets this limitation.
20          42.     The Accused Products determine whether an event object invokes a scroll or
21   gesture operation by distinguishing between a single input point (one finger) applied to the touch-
22   sensitive display that is interpreted as the scroll operation and two or more input points (more
23   than one finger) applied to the touch-sensitive display that are interpreted as the gesture operation.
24          43.     For example, the Galaxy Tab 10.1 tablet distinguishes between a scroll operation
25   when one finger is applied to the touch-sensitive display and a gesture operation when two or
26   more fingers are applied to the touch-sensitive display.
27

28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                             8
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 10 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1

 2

 3

 4

 5

 6

 7
                             (Scroll operation when one input point is applied.)
 8

 9

10

11

12

13

14

15
                       (Gesture operation when two or more input points are applied.)
16

17          44.     For example, the Galaxy S II phone distinguishes between a scroll operation when

18   one finger is applied to the touch-sensitive display and a gesture operation when two or more

19   fingers are applied to the touch-sensitive display, as illustrated below:

20

21

22

23

24

25

26

27

28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                        9
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 11 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1

 2

 3

 4

 5

 6

 7

 8

 9

10                           1.      (Scroll operation when one input point is
11

12

13

14

15

16

17

18

19

20                     2.      (Gesture operation when two or more input points are applied.)

21

22

23
            45.
24

25

26

27

28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                   10
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 12 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1

 2

 3

 4

 5

 6          46.
 7

 8

 9

10

11

12

13

14

15          47.     Based on my inspection of Samsung source code for each major release of
16   Android running on the Accused Products (Android 2.1, 2.2, 2.3, and 3.1), I have determined that
17   each Accused Product includes similar computer code that distinguishes between a single input
18   point (one finger) applied to the touch-sensitive display that is interpreted as the scroll operation
19   and two or more input points (more than one finger) applied to the touch-sensitive display that are
20   interpreted as the gesture operation. The claim chart in Exhibit 17 to my Infringement Report
21   identifies analogous code that satisfies this element in Android 2.1, 2.2, and 2.3. (Gray Decl. at
22   Ex. 14.)
23          48.     I understand that this limitation is the only one that Mr. Gray addresses in his
24   Declaration in support of Samsung’s Summary Judgment Motion. I further understand that Mr.
25   Gray alleges that the MotionEvent object does not “invoke” a scroll or gesture operation. I
26   disagree with Mr. Gray, because the Accused Products contain a MotionEvent object that
27   “invokes” a scroll or gesture operation, either literally or under the doctrine of equivalents.
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                             11
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 13 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1           49.     I understand that Mr. Gray interprets the term “invoke” to mean that the event
 2   object must itself “call” a scroll or gesture operation. In essence, this would mean the event
 3   object must itself call the operation with no intervening steps. I disagree with Mr. Gray’s
 4   interpretation of “invoke,” as it fails to interpret “invoke” in light of the specification.
 5           50.     In my opinion, based on the context provided by the ’915 patent specification and
 6   claims, a person of ordinary skill in the art would understand that “invoke” means “causes” or
 7   “causes a procedure to be carried out.”
 8           51.     The specification refers multiple times to the “user input invokes a scroll,” which
 9   means that user input causes a scroll operation to occur. As one example, the specification
10   discloses, “The method 1000 for providing the scroll hysteresis operation includes transferring a
11   scroll hysteresis call to determine whether a user input invokes a scroll at block 1002.” (Arnold
12   Decl. Ex. 85 [’915 Patent] at 10:66-11:2 (emphasis added).) As another example, the
13   specification discloses, "In an embodiment, the library of the framework provides an API for
14   specifying a scroll hysteresis operation to determine whether a user input invokes a scroll." (Id.
15   at 22:62-64 (emphasis added.)) Similarly, the specification discloses that the “user input” may
16   “invoke a gesture” on the view associated with the user input. (Id. at 13:37-39.) One skilled in
17   the art would understand that “user input” cannot itself “call” scroll or gesture operation code, but
18   instead causes the scroll or gesture operation to occur via intervening hardware detection and
19   software steps. Mr. Gray’s narrow construction of “invokes” is contrary to the specification.
20           52.     Similarly, the specification discloses that the “software invokes an animation that
21   performs a scaling transform on the view associated with the user input.” (Arnold Decl. Ex. 85
22   [’915 Patent] at 15:4-6.) One skilled in the art would understand. In light of this description, that
23   the software event object does not or need not call a scroll or scaling function directly, but rather
24   that the general code for scrolling and scaling would perform those operations.
25           53.     I disagree with Mr. Gray’s assertion that there is a significant distinction in the
26   ’915 patent between “event object invokes” and “user input invokes.” (See Gray Decl. ¶ 25.)
27   The patent specification often refers to “event object” as shorthand for “user input in an event
28   object.” As explained in the specification, “A multi-touch driver of the device receives the user
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                              12
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 14 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1   input and packages the event into an event object.” (See Arnold Decl. [’915 Patent] at 12:30-32.)
 2   The previous limitation of claim 8, “creating an event object in response to the user input,”
 3   indicates that the event object includes the user input information. Moreover, the interchangeable
 4   use of “event object” and “user input” is illustrated throughout the specification, which refers to
 5   the “event object,” “user input,” and “software” to invoke, or cause, various operations. (Id. at
 6   10:16-11:12, 13:37-39, 15:4-6, 22:62-64.)
 7          54.     The specification also expressly describes how the event object is used to cause
 8   scroll or gesture operations to execute via multiple steps. In each of the below examples, the
 9   event object does not itself call scroll or gesture operation code, but the event object’s user input
10   information is used to cause the scroll or gesture operation code to execute. For example, the
11   specification discloses, “A window server receives the event object and determines whether the
12   event object is a gesture event object. If the window server determines that a gesture event object
13   has been received, then user interface software issues or transfers the handle gesture call at
14   block 1302 to a software application associated with a view." (Arnold Decl. Ex. 85 [’915 Patent]
15   at 12:32-37 (emphasis added).) In this way, the user input information in the event object causes
16   the gesture operation to execute. Similarly, the specification discloses, “If the events are hand
17   events based on a user input, the events are routed to the window they occurred over. The
18   window then routes these events to the appropriate control by calling the instance's mouse
19   and gesture methods. The control that receives a mouse down or mouse entered function will
20   continue to get all future calls until the hand is lifted. If a second finger is detected, the gesture
21   methods or functions are invoked.” (Id. at 12:9-16 (emphasis added).). In this way, the event
22   object is based on the user input, causes a routing from the window to the user interface control,
23   which then calls a scroll or gesture operation based upon whether the event object contains a one-
24   finger or two-finger user input. The specification is entirely consistent with my interpretation of
25   “invokes.” Mr. Gray’s narrow definition limiting “invokes” to the event object itself calling a
26   scroll or gesture operation with no intervening steps contradicts the specification.
27          55.     My opinion that “invokes” means “causes” or “causes a procedure to be carried
28   out” is supported by dictionaries published near the time of the ’915 patent invention. For
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                            13
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 15 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1   example, the Oxford English Dictionary defines “invoke” in the “Computing” context as “cause
 2   (a procedure) to be carried out.” (Oxford Dictionary of English (2d Ed.) (2005) attached as
 3   Exhibit 9.) As another example, Merriam Webster’s Dictionary defines “invoke” as “to bring
 4   about, cause.” (Merriam Webster’s Dictionary (2004) attached as Exhibit 10.)
 5          56.     I disagree with Mr. Gray’s statement that MotionEvent object never invokes a
 6   scroll or gesture operation. (See Gray Decl. ¶ 35.)
 7

 8

 9

10          57.     Mr. Gray attempts to shift focus onto the WebView class, which is merely an
11   abstraction for a set of code that assists with routing event information to the window animation
12   software that executes the scrolling or scaling. (See Gray Decl. ¶ 34-35.) Mr. Gray never
13   contests that Samsung code calls the scroll or gesture operation depending upon the number of
14   touch points, but instead alleges it is WebView, not the event object, that calls the scroll or
15   gesture operation. I disagree with Mr. Gray. The specification clearly discloses that the window
16   or user interface code would use the event object’s user input information to cause a call to the
17   scroll or gesture operation. As I explained above, the specification discloses that the window
18   class (i.e., WebView) calls the scroll and gesture methods using the event: "If the events are hand
19   events based on a user input, the events are routed to the window they occurred over. The
20   window then routes these events to the appropriate control by calling the instance's mouse
21   and gesture methods.” (Arnold Decl. [’915 Patent] at 12:9-16 (emphasis added).) Further, the
22   specification explains that the window’s user interface software (i.e., WebView) issues or
23   transfers the gesture call based on the event: “A window server receives the event object and
24   determines whether the event object is a gesture event object. If the window server determines
25   that a gesture event object has been received, then user interface software issues or transfers
26   the handle gesture call at block 1302 to a software application associated with a view." (Id. at
27   12:32-37 (emphasis added).) Thus, the ’915 patent specification clearly shows that “invokes”
28   includes the use of additional code (such as WebView) to assist with routing the event object
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                            14
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 16 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   information and, depending on whether the event object indicates there is one or more input
 2   points, call the scroll or gesture operation.
 3           58.
 4

 5

 6

 7                                                                                               This is
 8   precisely what it means to “determin[e] whether the event object invokes a scroll or gesture
 9   operation by distinguishing a single input point . . . and two or more input points . . . ,” as recited
10   in claim 8[c].
11           59.      I also disagree with Mr. Gray’s comment that the MotionEvent object is a passive
12   container of information. (See Gray Decl. ¶ 33.)
13

14

15                 ].)
16           60.      I further understand that Samsung alleges that the “named inventors agree with its
17   construction,” but neither co-inventor agreed that “invoke” was limited to the event object itself
18   calling a function. Co-inventor Mr. Herz testified, “[A]n example of invoking something would
19   be . . . causing that code to run.” (Bartlett Decl. Ex. 53 at 95:15-19.) Herz also testified, “So in
20   the example I gave invoking could mean, yeah, causing something to happen.” (Id. at 95:20-
21   96:1.) Further, in response to a question, “Is there a way the view can determine whether the
22   event is associated with a scroll or gesture operation,”
23

24

25

26

27                                             Contrary to Mr. Gray’s out-of-context citation, Mr. Herz
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                              15
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 17 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   supports my interpretation that the “event object” does not itself call the scroll or gesture
 2   operation code, but instead causes the scroll or gesture operation to occur.
 3           61.     In addition, the other co-inventor, Mr. Platzer qualified his statement, “With
 4   regards to the patent, I’m not comfortable in defining ‘invoked.’
 5

 6

 7                                                                                      Mr. Platzer never
 8   testified that the event object needed to itself call a scroll or gesture operation.
 9           62.     Samsung’s Motion mischaracterizes my extensive testimony on the meaning of
10   “invoke,” and even deletes a key sentence for the snippet of testimony it does quote. I explained
11   multiple times that the meaning of “invokes” depends on the context. (Gray Decl. Ex. 7 at
12   313:14-319:15.)
13           63.     Further, I note that Samsung and Mr. Gray have been unclear and inconsistent as
14   to the meaning of “invoke” and how it might relate to an “event object.” Samsung initially
15   asserted, after fact discovery closed, that Apple had failed to prove “determining whether the
16   event object invokes a scroll or gesture operation, as ‘event objects’ are incapable of invoking
17   operations.” This assertion would be mean that “invoke” should be interpreted as an
18   impossibility, which contradicts the ’915 patent specification.
19           64.     Moreover, in his expert report, Mr. Gray states, “In my 35 years of systems
20   experience, I have never observed a system where an event object invoked a method.” (Bartlett
21   Decl. Ex. 31 at ¶ 266.) As I observed in my Validity Report, the construction that an event
22   object never invokes a method appears to be inconsistent with the notion that it would have been
23   obvious for a person of ordinary skill to add an event object that calls a scroll operation. (Ex. 2
24   at ¶ 177, 202, 226.) At his deposition, Mr. Gray retracted his earlier position, identifying his
25   paragraph 266 as an error in his Invalidity Report: “That’s not true. That’s the inaccuracy.”
26   (Bartlett Decl. Ex. 30 at 52:20-53:11.) I agree that Mr. Gray’s earlier position in his Invalidity
27   Report was inaccurate, and I think his current position is inaccurate as well.
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                               16
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 18 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1          65.     I further note that Mr. Gray also retracted his earlier reference to Mr. Platzer’s
 2   testimony. Mr. Gray earlier said that Platzer “agreed” with him in his expert report but changed
 3   his opinion at the deposition. (Bartlett Decl. Ex. 30 at 53:12-19.) I agree that Mr. Gray’s earlier
 4   statement was inaccurate, and I think his new position again saying that Platzer “supports” his
 5   opinion also is incorrect. (See id. at 53:12-19; Gray Decl. ¶ 22.)
 6          66.     For the above reasons, it is my opinion that the Accused Products literally infringe
 7   claim 8[c] as each is a machine readable medium containing instructions that “determine[e]
 8   whether the event object invokes a scroll or gesture operation by distinguishing between a single
 9   input point applied to the touch-sensitive display that is interpreted as the scroll operation and two
10   or more input points applied to the touch-sensitive display that are interpreted as the gesture
11   operation.”
12          67.     To the extent that this limitation is not met literally, in my opinion it is met under
13   the doctrine of equivalents. I disagree with Samsung’s proposed claim construction for “invoke,”
14   but even if I were to adopt Samsung’s new proposed construction, the Accused Products infringe
15   under the doctrine of equivalents because each of the Accused Products is a machine readable
16   medium containing instructions that perform steps insubstantially different from “determining
17   whether the event object invokes a scroll or gesture operation by distinguishing between a single
18   input point applied to the touch-sensitive display that is interpreted as the scroll operation and two
19   or more input points applied to the touch-sensitive display that are interpreted as the gesture
20   operation.”
21          68.     It also is my opinion that, even if I were to adopt Samsung’s new proposed
22   construction, the Accused Products infringe under the doctrine of equivalents because they
23   perform substantially the same function in substantially the same way to obtain substantially the
24   same result.
25          69.     First, it is my opinion that the Accused Products perform substantially the same
26   function as the recited limitation. The function of the limitation is “determining whether the
27   event object invokes a gesture operation by distinguishing between a single input point applied to
28   the touch-sensitive surface display that is interpreted as the scroll operation and two or more input
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                            17
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 19 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   points applied to the touch-sensitive display that are interpreted as the gesture operation.” (’915
 2   patent claim 8[c] (emphasis added).) In the context of the ’915 patent specification and claim 8,
 3   the function is determining based on distinguishing between one or two or more user input points
 4   in the event object whether a scroll or gesture operation should execute. The functions are the
 5   same.
 6           70.    Second, the Accused Products perform this function in substantially the same way
 7   as in the claim limitation. The Accused Products all perform a logical test using the event
 8   object’s user input information.
 9

10

11

12

13

14           71.    I disagree with Mr. Gray’s characterization that my position eliminates the “event
15   object” limitation. (See Gray Decl. ¶ 44.)
16

17                                                                ].) Moreover, the user input data is
18   contained within the event object. Thus, the “event object” is used as part of the “way” to
19   achieve this limitation.
20           72.    Finally, the Accused Products obtain substantially the same result, i.e., the
21   execution of either the scroll operation or gesture operation code, depending on whether there is a
22   single input point or two or more input points.
23           73.    For the above reasons, it is my opinion that the Accused Products infringe claim
24   8[c] under the doctrine of equivalents as each is a machine readable medium containing
25   instructions that perform the equivalent of “determining whether the event object invokes a scroll
26   or gesture operation by distinguishing between a single input point applied to the touch-sensitive
27   display that is interpreted as the scroll operation and two or more input points applied to the
28   touch-sensitive display that are interpreted as the gesture operation.”
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                              18
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 20 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1          74.     Claim 8 – Element [d] “issuing at least one scroll or gesture call based on
 2   invoking the scroll or gesture operation.” In my opinion, each of the Accused Products meets
 3   this limitation. I understand that Samsung and Mr. Gray have not disputed this point.
 4          75.     The images reproduced above show the Galaxy 10.1 tablet and the Galaxy S II
 5   smartphone issuing a scroll call when the scroll operation is invoked and issuing a gesture call
 6   when the gesture operation is invoked. The software steps are summarized below.
 7          76.
 8

 9

10

11

12

13

14          77.     Based on my inspection of Samsung source code for each major release of
15   Android running on the Accused Products (Android 2.1, 2.2, 2.3, and 3.1), I have determined that
16   each Accused Product includes similar computer code that issues at least one scroll or gesture call
17   based on invoking the scroll or gesture operation. The claim chart in Exhibit 17 to my
18   Infringement Report identifies analogous code that satisfies this element in Android 2.1, 2.2, and
19   2.3. (Gray Decl. at Ex. 14.)
20          78.     Claim 8 – Element [e] “responding to at least one scroll call, if issued, by
21   scrolling a window having a view associated with the event object.” In my opinion, each of
22   the Accused Products meets this limitation, and I understand that Samsung and Mr. Gray have not
23   contested this point. The images of the Galaxy 10.1 tablet and Galaxy S II phone performing
24   scrolling reproduced above demonstrate the performance of this limitation. The software steps
25   are discussed below.
26          79.
27

28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                           19
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 21 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1

 2

 3

 4

 5                                                      .)
 6          80.
 7

 8

 9                                                                       .
10          81.
11

12

13

14

15

16

17

18

19

20

21          82.
22

23

24

25                                                               )
26          83.     Based on my inspection of Samsung source code for each major release of
27   Android running on the Accused Products (Android 2.1, 2.2, 2.3, and 3.1), I have determined that
28   each Accused Product includes similar computer code that responds to at least one scroll call by
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                       20
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 22 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1   scrolling a window having a view associated with the MotionEvent. The claim chart in Exhibit
 2   17 to my Infringement Report identifies analogous code that satisfies this element in Android 2.1,
 3   2.2, and 2.3. (Gray Decl. at Ex. 14.)
 4          84.     Claim 8 – Element [f] “responding to at least one gesture call, if issued, by
 5   scaling the view associated with the event object based on receiving the two or more input
 6   points in the form of the user input.” In my opinion, each of the Accused Products meets this
 7   limitation, which Samsung and Mr. Gray do not dispute.
 8          85.     For example, the Galaxy 10.1 tablet and the Galaxy S II phone will respond to at
 9   least one gesture call by scaling the view (zooming) associated with the MotionEvent object
10   based on receiving two or more input points in the form of the user input, as shown in the
11   “scaling” images reproduced above. The software steps are discussed below.
12          86.
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                        21
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 23 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1          87.       Based on my inspection of Samsung source code for each major release of
 2   Android running on the Accused Products (Android 2.1, 2.2, 2.3, and 3.1), I have determined that
 3   each Accused Product includes similar computer code that responds to at least one gesture call, if
 4   issued, by scaling the view associated with the event object based on receiving the two or more
 5   input points in the form of the user input. The claim chart in Exhibit 17 to my Infringement
 6   Report identifies analogous code that satisfies this element in Android 2.1, 2.2, and 2.3. (Gray
 7   Decl. Ex. 14.)
 8
     VI.    LAUNCHTILE DOES NOT INVALIDATE CLAIM 50 OF THE ’163 PATENT
 9
            88.       Claim 50 of the ’163 patent recites1:
10
                      A portable electronic device, comprising:
11
                         [a] a touch screen display; one or more processors; memory; and one or more
12                       programs, wherein the one or more programs are stored in the memory and
                         configured to be executed by the one or more processors,
13
                             [b] the one or more programs including: instructions for displaying at least
14                           a portion of a structured electronic document on the touch screen display,
                             wherein the structured electronic document comprises a plurality of boxes
15                           of content;
16                           [c] instructions for detecting a first gesture at a location on the displayed
                             portion of the structured electronic document; instructions for determining
17                           a first box in the plurality of boxes at the location of the first gesture;
                             instructions for enlarging and translating the structured electronic
18                           document so that the first box is substantially centered on the touch screen
                             display;
19
                             [d] instruction[s] for, while the first box is enlarged, a second gesture is
20                           detected on a second box other than the first box; and instructions for, in
                             response to detecting the second gesture, the structured electronic
21                           document is translated so that the second box is substantially centered on
                             the touch screen display.
22

23          89.       As stated in my Validity Report (attached as Exhibit 2) at ¶¶ 29-38, it is my
24   opinion that Claim 50 of the ’163 patent is not anticipated or otherwise invalidated by the
25   LaunchTile System, the LaunchTile Publication describing it (Bederson Decl., Ex. A), or the
26   XNav System (which operates substantially identically to the LaunchTile System for purposes
27

28          1
                I adopt the separation of claim elements set forth in Mr. Gray’s Declaration.
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                               22
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 24 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   relevant to this litigation). For convenience, I will refer collectively to these three pieces of
 2   alleged prior art as “LaunchTile” except when discussing content or functionality that is specific
 3   to one of them.
 4          90.     I incorporate here by reference the arguments for validity over LaunchTile made in
 5   paragraphs 29-38 of my Validity Report. (Ex. 2.) I made these arguments in my Validity Report
 6   in the context of claim 2, but they apply equally to claim 50, which has claim limitations
 7   substantially identical to those in claim 2. Mr. Gray agrees that “Claim 2 is a ‘computer
 8   implemented method’ claim, and generally tracks the language of independent claims 49, 50, 51,
 9   and 52.” (Bartlett Decl. Ex. 31 ¶ 289.) Claim 50 requires one or more programs including
10   “instructions for” performing each of the method steps described in claim 2. LaunchTile fails to
11   anticipate claim 50 for at least the same reasons that it fails to anticipate claim 2.
12          A.      Overview of LaunchTile
13          91.     LaunchTile is a research prototype system that provides the ability to launch 36
14   applications via tiles presented using a display abstraction that its authors call an “interactive
15   zoomspace.” (Bederson Decl., Ex. A at 204.) The zoomspace provides three levels of display: the
16   World View, which displays application tiles (symbolic visual representations) corresponding to
17   each of the 36 applications in a 6-by-6 grid; the Zone View, which displays four application tiles
18   with additional application-related content in a 2-by-2 grid; and the Application View, which
19   launches and allows a user to interact with each application itself. Clicking or tapping on a
20   location in the World View initiates an animation that fills the screen with a Zone View
21   rendering—distinct from the content displayed in the corresponding portion of the World View—
22   of the four application tiles around the location of the user’s touch. Once the Zone View is
23   rendered, clicking or tapping on one of the four displayed application tiles launches the
24   application—for example, an email client application or a mapping application—to which the
25   selected application tile corresponds.
26          92.     As the above description suggests, LaunchTile targets an entirely different
27   problem from the one that is solved by claim 50 of the ’163 patent: LaunchTile addresses the use
28   of a fixed set of applications in a predefined layout, whereas the ’163 patent deals with reading
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                             23
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 25 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   and navigating arbitrarily-sized structured electronic documents on a small screen. LaunchTile
 2   creates substantively different renderings of a fixed set of iconic application tiles. These tiles
 3   facilitate the launching of the applications to which the tiles correspond. Claim 50, by contrast,
 4   applies enlargement and translation to a unified, but arbitrarily sized, structured electronic
 5   document to aid a user’s viewing of areas of interest in that document. LaunchTile fails to
 6   disclose multiple elements of claim 50, as the analysis that follows will demonstrate.
 7           B.      Claim 50, Element [b]
 8           93.     LaunchTile does not disclose the element of claim 50 of “instructions for
 9   displaying at least a portion of a structured electronic document on the touch screen display,
10   wherein the structured electronic document comprises a plurality of boxes of content.”
11           94.     According to Mr. Gray, LaunchTile displays a structured electronic document in
12   the World View. (Gray Decl. ¶ 76 (“It is my opinion that this 6x6 zoomspace is a ‘structured
13   electronic document’ with 36 embedded Application tiles, each of which is also a structured
14   electronic document.”).) I disagree. As I opined in my deposition in response to Samsung’s
15   questioning on this point (Gray Decl. Ex. 6 at 171:14-176:15), the mere fact that LaunchTile
16   arranges a set of otherwise conceptually independent application tiles into a grid for display does
17   not automatically qualify that collection as a single electronic document.
18           95.     In my opinion, those of skill in the art of the ’163 patent would understand that
19   there must be some conceptual relationship or commonality in the information in a “document”
20   that is sufficient to justify treating that information as a single, discrete entity. For electronic
21   documents, the classic indication of such a relationship is the storage of information in a single
22   file, such as a text file, an image file, an HTML file, or a spreadsheet file. Where a single file is
23   not present, information must be related in a conceptually equivalent way to be considered a
24   “document.”
25           96.     As I discussed in my Infringement Report, the display of a web page, such as the
26   New York Times home page, in a mobile device’s web browser is a paradigm example of the
27   display and navigation of a structured electronic document that the ’163 patent targets. The New
28   York Times home page is a structured electronic document that includes several boxes of content
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                               24
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 26 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1   that mobile devices—including Apple’s iOS products and the Samsung Accused Products—can
 2   display on their touch screen displays. These devices detect a user’s double tap gesture (two taps
 3   on the touch screen in quick succession) on a box of content, and respond to that gesture by
 4   determining which box was tapped and then enlarging and translating the web page to
 5   substantially center that box on the screen. If the user proceeds to double tap on a second box of
 6   content on the web page, the web page is translated to substantially center that second box on the
 7   screen.
 8             97.   The various application tiles that LaunchTile is programmed to display together to
 9   create the World View screen are not one electronic document. The different applications that
10   these tiles represent are entirely conceptually independent of one another: they are separate
11   programs designed to run independently and accomplish different tasks. LaunchTile purposely
12   uses different levels of abstraction to provide three different layers of information about a fixed
13   number of application programs. At each layer the system displays different content distinct from
14   the content in other layers, and it launches distinct application programs when an individual tile is
15   touched.
16             98.   My review of the XNav source code, which I understand is functionally equivalent
17   in the relevant respects to the code for the LaunchTile, confirms that the “interactive zoomspace”
18   that Mr. Gray identifies as the structured electronic document displayed in the World View is
19   actually just a programmatically assembled collection of separate image files representative of the
20   36 disparate applications displayed in the World View. This is consistent with Dr. Bederson’s
21   own description of LaunchTile. (Bederson Decl. ¶ 14 (“In our prototype implementation, the
22   individual tiles in LaunchTile were typically represented by one or more image files (.png
23   files).”).)
24             99.   Dr. Bederson and Mr. Gray attempt to manufacture a connection between the
25   various application tiles in the World View by resorting to the idea that LaunchTile’s code for
26   displaying these separate pieces assembles all of them into a “single, hierarchical object oriented
27   data structure.” (Bederson Decl. ¶ 13; cited by Gray Decl. ¶ 77.) Such a data structure—which is
28   a programming construct created by LaunchTile to facilitate display that could be populated with
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                              25
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 27 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   arbitrary, unrelated content—is not an “electronic document” within the meaning of the ’163
 2   patent because it lacks the prior semantic association of its contents that a “document” requires.
 3          100.    Dr. Bederson’s inapt comparison of LaunchTile’s display-facilitating “data
 4   structure” to an HTML document (Bederson Decl. ¶ 13:9-12) highlights a key distinction between
 5   LaunchTile’s operation and the display of a true electronic document, such as the rendering of an
 6   HTML document in a web browser. Dr. Bederson claims that LaunchTile’s “creating [a] single,
 7   hierarchical object oriented data structure that is then translated into the visual representation
 8   displayed to the user” (emphasis added) is “similar to the process that occurs when a typical web
 9   browser application interprets and transforms the elements of a standard HTML document into
10   what is known as a data object model that can then be visually presented to the user as a single,
11   unified web page.” (Id.) A web browser, however, does not “creat[e]” the HTML documents
12   that it displays. Rather, unlike LaunchTile—which creates at runtime (i.e., when the program is
13   executed and the display is rendered) the “single object-oriented data structure” to which Dr.
14   Bederson and Mr. Gray refer2—a web browser takes as input a discrete quantum of information
15   that is already semantically associated as a unified HTML “document.” That a browser performs
16   additional processing to render an HTML document into viewable form does not change the fact
17   that it takes a unified HTML document as input, while LaunchTile merely assembles, for display
18   purposes, disparate image resources representative of independent applications.
19          101.    For the reasons above, it is my opinion that the World View in LaunchTile does
20   not “display[] at least a portion of a structured electronic document” and therefore does not
21   disclose this element of claim 50.
22          C.      Claim 50, Element [c]
23          102.    LaunchTile does not disclose the element of claim 50 of “instructions for detecting
24   a first gesture at a location on the displayed portion of the structured electronic document;
25   instructions for determining a first box in the plurality of boxes at the location of the first gesture;
26
            2
              Dr. Bederson is careful to limit his testimony to say only that “embedded tiles were
27   always part of one unified zooomspace that was dependent on a single object-oriented data
     structure for its content during the rendering process.” (Bederson Decl. ¶ 14 (emphasis added.))
28   No such unifying structure exists prior to—or independently of—LaunchTile’s being executed.
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                              26
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 28 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   [and] instructions for enlarging and translating the structured electronic document so that the first
 2   box is substantially centered on the touch screen display.”
 3          103.    Mr. Gray opines that “LaunchTile’s instructions for displaying an animated
 4   transition from World view to Zone view” disclose this element of claim 50. (Gray Decl. ¶ 85.)
 5   As I discussed in my Validity Report, I disagree. Claim 50 requires that the “structured electronic
 6   document” that is “enlarge[ed] and translate[ed]” (such that the enlarged portion of it is
 7   “substantially centered on the touch screen display”) must be the same structured electronic
 8   document that includes a location where “a first gesture” is detected and “a first box” is
 9   determined. LaunchTile does not meet this requirement because the content displayed in the
10   World View is entirely replaced with different content, assembled by LaunchTile from different
11   underlying graphical assets, when the system transitions from World View to Zone View. Total
12   replacement of content does not meet any reasonable definition of “enlarging and translating,”
13   and any “box” that existed in the World View is not part of the Zone View. The images in
14   Exhibit 3 to Mr. Gray’s Declaration plainly show entirely different content displayed before and
15   after the transition from World View to Zone View. For example, the single phone icon in the
16   World View becomes a list of calls in the Zone View; the email and calendar cells similarly
17   become detailed lists in the Zone View where they were merely iconic representations in the
18   World View:
19

20

21

22

23

24

25          104.    Mr. Gray attempts to unify the entirely different content of the World View and

26   Zone View into a single structured electronic document by claiming that the “zoomspace” itself is

27   the structured electronic document of interest. (Gray Decl. ¶ 85.) But the zoomspace is not an

28   “electronic document” at all. It is, rather, an abstraction that refers to different possible

     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                           27
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 29 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1   renderings of a set of independent application tiles. As discussed in the previous section in the
 2   World View context, it is the LaunchTile program itself that assembles, at runtime, separate
 3   image files representative of independent applications into the different grids that are displayed in
 4   the World and Zone Views. None of these layouts are dictated by any discrete “document” in the
 5   way that, for example, a preexisting HTML file encapsulates a web page that is rendered in a web
 6   browser.
 7          105.    Mr. Gray mischaracterizes my deposition testimony stating that an electronic
 8   document is “usually some cohesive piece of information” to claim that it supports his conclusion
 9   that “the embedded tiles at the World view are part of the same ‘document’ rendered in further
10   detail at Zone view.” (Gray Decl. ¶ 88.) My statement cuts exactly the opposite way, supporting
11   the contrary conclusion that there is no “document” in common across the World and Zone
12   Views. The separate image resources representative of independent applications that LaunchTile
13   assembles do not together constitute “some cohesive piece of information” on their own. The
14   hierarchical relationship between them, on which Mr. Gray depends, is only imposed by
15   LaunchTile itself as the program executes. This indicates the lack of any true “document” on
16   display across the different levels of LaunchTile, not the presence of one.
17          106.    Even if one considered the programmatically imposed layout of four application
18   tile images in a given Zone View a structured electronic document, it would still not be the same
19   structured electronic document as anything displayed in the World View. As the images above of
20   the World-to-Zone View transition show and my review of XNav code confirms, LaunchTile
21   assembles each 2-by-2 tile Zone View from image resources different from those that represent
22   the same applications in the World View. The mere conceptual association with the same
23   underlying applications is not enough, in my opinion, to qualify these otherwise entirely distinct
24   renderings of content as the same structured electronic document. Because the content of any
25   given set of four application tiles displayed in the World View is completely different from the
26   tiles representing those same applications in the Zone View, it is clear that the Zone View
27   rendering is not the result of simply “enlarging and translating” any purported structured
28   electronic document displayed in the World View.
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                            28
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 30 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1             107.   In his deposition, Mr. Gray admitted that the “Zone View” does not result from
 2   enlarging and translating the same “structured electronic document” from which the box of
 3   content was selected:
 4                    Q. Is it your opinion that the transition from the world view to the
                      zone view shown on page 4 of your Appendix 7 [the LaunchTile
 5                    invalidity claim chart], that what has been enlarged and translated is
                      the same structured electronic document that is shown in the world
 6                    view?
 7                    A. No. The document which is being shown in the zone view on
                      page 4 is a box of content from the structured electronic document
 8                    shown in the world view.
 9   (Bartlett Decl. Ex. 30 at 205:21-206:3 (emphasis supplied).)
10   In responding to a follow-up question, Mr. Gray confirmed that the Zone View was not an
11   “enlarging” of the four tiles as they were displayed in the World View:
12                    Q. It’s different content. It’s not simply an enlarging of the images
                      that are shown in the tile in the world view; it is a –looking at
13                    different data and displaying different data rather than displaying
                      the same thing in a larger font size or a larger image, right?
14
                      [Objection; argumentative, misstates the document]
15
                      A. Let me agree that it is not a magnification of what’s in the—in
16                    the upper right hand corner of the first box of the world view. It is
                      not a magnification—the upper right hand corner of the zone view
17                    is not a magnification of the original. That’s accurate.
18   (Id. at 209:12-25.)
19             108.   Dr. Bederson invokes a concept he calls “semantic zooming” to try to justify his
20   conclusion that “[t]he four tiles that happen to be displayed in Zone view are the same embedded
21   Application tiles (albeit rendered in further detail) that were present at World view.” (Bederson
22   Decl. ¶¶ 17-18.) Dr. Bederson describes a semantic zooming object as “a procedural object that
23   renders itself differently depending on its viewing size,” and he contends that LaunchTile uses
24   such objects. (Id. ¶ 18.) In my opinion, a semantic zooming object that renders itself entirely
25   differently across two level of zoom does not meet claim 50’s requirement of “enlarging and
26   translating” a single structured electronic document to effect the transition between the two
27   levels.
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                            29
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 31 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1          109.    Mr. Gray states that “even if the tiles (embedded structured electronic documents)
 2   were entirely replaced during the enlarging and translating step, this would not change [his]
 3   opinion that the zoomspace, within which the tiles exist at any particular level of zoom, is the
 4   same structured electronic document throughout the navigation process.” (Gray Decl. ¶ 89.) He
 5   goes on to state:
 6                  In a somewhat analogous situation, I am aware that web pages
                    (structured electronic documents encoded in HTML) sometimes
 7                  contain embedded objects displaying live content in the form of
                    advertising material, stock quotes, or "breaking news" headlines.
 8                  When a user manually refreshes the web page or, in some cases,
                    after some pre-set amount of time, the embedded object will be
 9                  updated or even replaced with entirely new different content.
                    However, no person of ordinary skill in the art would believe that
10                  they were viewing a different webpage (i.e., "structured electronic
                    document") merely because the content in one embedded element
11                  had changed. (Id.)

12          110.    The “live content” that Mr. Gray identifies that “refreshes” within a web page is
13   not analogous to the replacement of content that occurs in LaunchTile on the transition from
14   World View to Zone View. In the web-page-live-content scenario, the same HTML document is
15   displayed before and after the refresh of embedded content. As explained above, LaunchTile has
16   no cross-transition analogue to the HTML document, because each level of its display is
17   assembled programmatically from disparate entities and is merely a fixed layout independent of
18   the inherent structure of a single document. In the web page case, the parts of the displayed
19   HTML document other than the embedded refreshing portion remain the same across the refresh.
20   When LaunchTile transitions from World View to Zone View, it completely replaces content
21   displayed in the prior view with new content derived from separate underlying image resources.
22          111.    For the reasons stated and shown above, LaunchTile does not disclose element [c]
23   of claim 50.
24          D.      Claim 50, Element [d]
25          112.    Neither does LaunchTile disclose the element of claim 50 of “instruction[s] for,
26   while the first box is enlarged, a second gesture is detected on a second box other than the first
27   box; and instructions for, in response to detecting the second gesture, the structured electronic
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                             30
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 32 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1   document is translated so that the second box is substantially centered on the touch screen
 2   display.”
 3           113.    Mr. Gray opines that this element of claim 50 is disclosed by LaunchTile’s
 4   launching of an application via a gesture on an application tile displayed in Zone View. (Gray
 5   Decl. ¶¶ 92-95.) I disagree. Mr. Gray’s interpretation fails to appreciate the significance of the
 6   act of launching an application in LaunchTile. This step, as LaunchTile’s name suggests, is of
 7   critical—indeed, defining—importance to the system, and it distinguishes it fundamentally from
 8   the invention of claim 50 of the ’163 patent.
 9           114.    As an initial matter, it is my opinion that claim 50’s requirement of a gesture on a
10   “second box other than the first box” is not met when the second box is wholly contained within
11   the first box. This is the case when, as Mr. Gray describes, a user enlarges a Zone View and then,
12   without scrolling to a different four-tile view, clicks on an application tile that is fully within the
13   Zone View that Mr. Gray defines as the “first box.” A “second box other than the first box”
14   requires, by its plain terms, a second box that is not any part of the first box.
15           115.    The LaunchTile invention was, according to its authors, motivated by “the
16   problem [of] navigating device applications” on smartphone and PDA devices. (Bederson Decl.,
17   Ex. A at 201.) LaunchTile sought to provide, in particular, “high-value at-a-glace information for
18   several applications at once, as well as on-demand application launch when users desire more
19   detailed information.” (Id.) These dual goals central to LaunchTile’s design—(1) providing “at-
20   a-glance information” about several unlaunched applications simultaneously and (2) allowing
21   “on-demand application launch” to enable use of the applications’ full functionalities—
22   fundamentally define the way the system operates. Mr. Gray’s interpretation of LaunchTile,
23   however, ignores that it has the ability to “launch” applications at all, because he contends that
24   LaunchTile’s individual applications in their launched, interactive mode are part of the same
25   “electronic document” as the application-launching tiles displayed in the World View and Zone
26   View. This is contrary to the well understood meaning of launching an application, as well as the
27   treatment of applications in the Bederson paper on LaunchTile (Bederson Decl., Ex. A).
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                              31
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 33 of 36
                                                Apple v. Samsung
                                        Confidential – Attorneys’ Eyes Only


 1          116.    An application is a software program that performs particular user-oriented tasks.
 2   When a user launches an application, such as the Email application, from LaunchTile’s Zone
 3   View, that application fills the entire screen, and it allows the user to interact with the application
 4   to perform the tasks that the application is designed to accomplish. In the case of LaunchTile’s
 5   Email application, for example, launching the application displays a scrollable email client inbox,
 6   and the user can select an individual email to open it. This application-level functionality has
 7   nothing to do with the display of grids of application-launching tiles in the World View and Zone
 8   View: the content is entirely different, and it supports entirely different user interaction for a
 9   different purpose. It is not accurate, in my opinion, to say that the entirety of an interactive
10   application is part of the same “electronic document” as a set of application-launching tiles that
11   includes one tile that can launch that application. For example, when a user taps on an individual
12   LaunchTile, it is not “substantially centered” by “translating the structured electronic document”
13   as claim 50 requires—any more than a Microsoft Word icon on a Windows desktop is
14   “substantially centered” by “translating” the desktop’s array of application icons when the user
15   clicks on the icon to launch the Word application.
16          117.    The Bederson paper on LaunchTile itself (Bederson Decl., Ex. A) repeatedly treats
17   the applications themselves as distinct from the World View and Zone View composed of
18   application-launching tiles. For example, the paper states that “Although the original focus of our
19   designs was on the application ‘shell’, we extended the LaunchTile interaction philosophy to the
20   application level, where we sought to make interaction consistent with navigation among the
21   application tiles.” (Bederson Decl., Ex. A at 205.) The LaunchTile authors distinguished
22   between “the application ‘shell’” that allowed “navigation among the application tiles” (i.e., the
23   World View and the Zone View) from the “application level” where interactive applications
24   themselves could be used. In describing implementation details, the paper again distinguishes
25   between the “shell” and “the applications themselves.” (Id. at 206.) The authors do not describe
26   “translating” any part of the shell to transition to the application level. Rather, they write that
27   “[t]he user taps any of the 4 notification tiles within Zone view to launch the corresponding
28   application.” (Id. at 205.) Thus it appears that even LaunchTile’s own authors did not conceive
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                              32
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 34 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1   of all three of LaunchTile’s levels as part of a unified electronic document. They treated the “the
 2   application ‘shell’” (i.e., the World View and the Zone View)—which provided “high-value at-a-
 3   glace information for several applications at once” (id. at 201)—as distinct from “the applications
 4   themselves” (id. at 206) that gestures in the shell could “launch.”
 5          118.    My inspection and use of LaunchTile and XNav confirm that launching an
 6   application from the Zone View does not merely “translate[e]” the representative content
 7   displayed in the Zone View. For example, launching the email application brings up a more
 8   detailed and longer list of emails in an inbox, and a user can select an individual email to view it.
 9   Dr. Gray’s own images of LaunchTile’s transition at the launch of the email application show the
10   application’s different visual appearance from the static thumbnail provided in the Zone View:
11

12

13

14

15

16

17

18

19
            119.    The unimplemented applications in the LaunchTile and XNav prototypes—which
20
     include 33 of the 36 notification tiles (all except the email application that Mr. Gray uses as his
21
     example and two others)—provide the best illustration of the fact that the Zone View and the
22
     Application View display entirely distinct content. Selecting a notification tile in Zone View that
23
     corresponds to an unimplemented application results in the display of a placeholder screen—
24
     shared by all of the unimplemented applications—that says “Application Under Construction.” It
25
     is readily apparent that no notification tile in Zone View displays this text, so it cannot be the case
26
     that an Application View displaying this text is the result of merely “translat[ing]” any electronic
27
     document displayed in Zone View.
28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                              33
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 35 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1

 2

 3

 4

 5

 6

 7

 8

 9
     As shown above, selecting the unimplemented Calendar Application in XNav brings up a mostly
10
     blank screen with the text “Application Under Construction” on it.
11
            120.    Underscoring the separation between the Zone and World Views and the
12
     applications themselves, Mr. Gray conceded at his deposition that once a single application has
13
     been launched, there is no way to pan or scroll to see any other box of content from the World
14
     View or Zone View:
15
                    Q. And you cannot scroll or pan when you’re in the LaunchTile
16                  application view to see any of the adjacent LaunchTile zone view
                    boxes, right?
17
                    [Objection, compound]
18
                    A. My best recollection of the way that this operates is that—is
19                  that—let me think. I don’t, sitting here right now, I don’t remember
                    certainly whether there is an ability to slide back to the other view.
20                  But I think not. I think—so let me—sorry.

21                  I believe that from the selected second box, which has been
                    expanded and centered on page 5, is labeled the “LaunchTile
22                  application view,” that it is—from there, I don’t know of a
                    navigation path back to the first box other than to go back up to the
23                  world view and then select the zone again.

24
     (Bartlett Decl. Ex. 30 at 214:16-215:6.) Mr. Gray’s testimony further confirms that the
25
     Application view is not obtained by merely “translating” or “scrolling” the structured electronic
26
     document from which the application tile was selected.
27

28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                          34
     Case 5:11-cv-01846-LHK Document 1024-2 Filed 06/01/12 Page 36 of 36
                                               Apple v. Samsung
                                       Confidential – Attorneys’ Eyes Only


 1          I declare under penalty of perjury under the laws of the United States of America that the
 2   foregoing is true and correct. Executed on May 31, 2012.
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     DECLARATION OF DR. KARAN SINGH IN SUPPORT OF APPLE’S OPPOSITION
     Case No. 11-cv-01846-LHK                                                                        35
